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                                                                                              Case Number: 21-012527
                                          405 Valley St, Manchester, NH 03103


Officer(s):
Officer:                                 Involvement Date:                      Involvement Type:
O'Neill, Terrence 100564                 09/03/2021 18:59:00                    REPORT::Reporting

Event Details:
Date I Time Reported:                    Start Date I Time:                     End Date / Time:


Location of Incident:




Narrative
Post-Arrest Interview with Michael Francis
Case#21-012527
Det. T. O'Neill
Post-Arrest Interview
Offender: Michael Francis
September 1, 2021


I, Detective T. O'Neill, assigned to the Manchester Police Department's Special Enforcement
Division, along with Sgt. J. Lorenzo, escorted arrested subject Michael Francis, DOB:-1987,
from the MPD booking area to the third floor and into MPD Interview Room 1, on September 1, 2021.
The following is a synopsis of the interview and not a verbatim account. The full interview has been
burned to DVD and saved to this case file.
Prior to reading Francis the State of New Hampshire Uniform Statement Form, he was advised that
the room was equipped with audio and video recording equipment.
We began the interview at 1809 hours. We confirmed with Francis that he reads and understands
the English language. We advised Francis that he was currently under arrest for a Parole Violation
and that is why he was being read his rights. Francis asked for more clarification on the specific
parole violation, and we indicated to him it was for not alerting his PPO of an address change,
specifically living at 231 Thornton Street. Francis stated he does not live at 231 Thornton Street.
Additionally, I advised Francis that the vehicle that he was stopped in on this date is the subject of a
federal search warrant.
I then read through the State of New Hampshire Uniform Statement Form line by line with Francis
and Francis initialed Lines 1-5, and marked "Yes" indicating that he understood each of these rights.
Francis then marked "Yes" indicating his willingness to waive each of these rights and answer



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questions. Francis signed his name indicating his willingness to answer questions. Sgt. Lorenzo and
I then signed in the respective Witness areas.
I began by telling Francis that I know he was at 231 Thornton Street on this date, as I personally
observed him on the third floor balcony. I advised Francis that this apartment was currently being
held pending a search warrant. I went on to explain to Francis that the vehicle he was driving today
was the subject of a federal search warrant, headed by the FBI.
I explained to Francis that we have already executed the search warrant on his vehicle and found a
sizeable amount of narcotics in the vehicle. I elaborated further by telling Francis there was a
sizeable amount of "dope" in the car, at which point Francis asked, "Dope?" and Sgt. Lorenzo stated,
"cocaine". Francis reacted by only making a low-level audible grunt.
Sgt. Lorenzo asked if Francis would like to tell us anything about the cocaine, and specifically Flores,
who was observed transporting the cocaine in a birthday bag to the vehicle. Francis responded,
"No".
Sgt. Lorenzo asked Francis if he knew what was in the bag. Francis paused before stating, "I don't
know nothing about that. I don't know nothing about drugs. I don't know nothing about my car. I don't
know nothing about Thornton Street."
Sgt. Lorenzo then told Francis that he has bills in his name, specifically Comcast, at 231 Thornton
Street. Sgt. Lorenzo advised Francis that an FBI federal search warrant was being currently drafted
and Manchester Police have already been inside 231 Thornton Street to ensure there were no other
people inside the apartment. Upon hearing this, Francis asked, "You've been inside there already?"
with his eyebrows raised in apparent surprise before continuing, "with no search warrant?" Sgt.
Lorenzo explained that police are allowed to render a location safe while awaiting for the approval of
a search warrant for officer safety purposes.
Upon hearing this explanation, Francis rocked back in his chair and let out a long groan, while stating
"Ahh, this is great. Alright, well, I want a lawyer".
Prior to leaving the interview room, while stating to Francis that he was not asking him any further
questions, Sgt. Lorenzo explained that law enforcement would recover and test fire the four firearms
already observed in plain view at 231 Thornton Street. Sgt. Lorenzo stated that further charges may
be forthcoming. Sgt. Lorenzo explained the re-initiation process for speaking with law enforcement
should Francis reconsider. The interview was concluded at 1819 hours.
We escorted Francis back to the first floor of MPD Headquarters and into the booking area and back
to his cell.
As I walked around the floor in an attempt to speak with Emilio Flores (DOB: 111111999), I could
hear Francis yelling from his cell, "I told them I wanted my lawyer!" When I got to Flores' cell, he was
standing at the door and said he did not wish to speak to me. This ended my interaction with Flores.
NFI/TMO.




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